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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                             CRMIINAL NO. CCB-16-0267

        v.

 DANTE BAILEY,

        Defendant.


                             MOTION TO PARTIALLY UNSEAL

       The United States of America, by and through its attorneys, Robert K. Hur, United States

Attorney for the District of Maryland, and Christina A. Hoffman, Assistant United States Attorney

for said District, moves to partially unseal the Government’s Sentencing Memorandum and the

exhibits thereto, and in support thereof states the following:

         1.    The government’s sentencing memorandum and exhibits were initially filed under

seal because they referred to confidential informants and the testimony of witnesses at trial.   The

Court found that the appearance in the public record of the sentencing memorandum could create

safety issues for those witnesses and informants.

         2.    The government has now submitted redacted versions of its sentencing

memorandum and exhibits that omit the names of witnesses, suspected cooperators, and victims.

The government believes that the redacted versions can be filed on the public docket without

creating safety issues for those witnesses, suspected cooperators, and victims.

               WHEREFORE, the government respectfully request that the Court partially unseal

the Government’s Sentencing Memorandum and exhibits, and file the proposed redacted versions

of the Government’s Sentencing Memorandum on the public docket.

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                                 Respectfully submitted,

                                 Robert K. Hur
                                 United States Attorney

                           By:          /s/
                                 Christina A. Hoffman
                                 Assistant United States Attorney
                                 36 South Charles Street
                                 Baltimore, Maryland 21201
                                 410-209-4800




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                            CRMIINAL NO. CCB-16-0267

          v.

 DANTE BAILEY,

          Defendant.



                                            ORDER

               Upon review of the Motion of the United States of America, the Court hereby

adopts the Government’s proffer of the reasons for partially unsealing as presented therein, and it

is hereby ORDERED that the Government’s Sentencing Memorandum and exhibits thereto shall

be PARTIALLY UNSEALED, and the proposed redacted versions shall be filed on the public

docket.

               It is further ORDERED that the Clerk of the Court provide a copy of this Order to

the United States Attorney’s Office.



Dated: April ______, 2020.


                                                Honorable Catherine C. Blake
                                                United States District Judge
